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                         Exhibit A
                 Case 2:25-cv-00066-JRG           Document 1-2           Filed 01/22/25   Page 2 of 50 PageID #: 34

                                                 Exhibit A – U.S. Patent No. 8,259,688


Toyota makes, uses, tests, offers for sale, sells, and/or imports vehicles that comply, operate in accordance, and/or are configured in
accordance with 36 Series of one or more of 3GPP releases 8-16. Such vehicles are collectively referred to as the “Accused Products.”
The Accused Products include Toyota and Lexus-branded vehicles that support LTE and that were made in, used in, tested in, offered
for sale in, sold in, or imported into the United States by Toyota at some point in time since 2018. Each of the Accused Products
supports LTE and, thus, includes the features and functionality identified in this chart. The features and functionality identified in this
chart cause the Accused Products to practice the asserted claims of U.S. Patent No. 8,259,688 (the “’688 patent”).


                Claim 1                                                      Accused Products
 [PRE] A method for use in a mobile      An Accused Product is a mobile station. As evidenced below, the Accused Products perform
 station, the method comprising:         the claimed method when operating on an LTE network.

 [A][1] receiving, by the mobile         As evidenced below, an Accused Product operating on an LTE network receives, from a
 station from a serving base station,    serving base station, an indication of a first subset of random access identifier codes
 an indication of a first subset of      randomly selectable by the mobile station for contention based transmission on a random
 random access identifier codes          access channel of a target base station.
 randomly selectable by the mobile
 station for contention based
 transmission on a random access
 channel of a target base station and




                                                                     1
                Case 2:25-cv-00066-JRG       Document 1-2         Filed 01/22/25    Page 3 of 50 PageID #: 35

                                            Exhibit A – U.S. Patent No. 8,259,688


              Claim 1                                                     Accused Products




                                     Source: TS 36.300, 1 p. 45




1
 3GPP TS 36.300 V8.12.0 (2010-03), Evolved Universal Terrestrial Radio Access (E-UTRA) and Evolved Universal Terrestrial
Radio Access Network (E-UTRAN) Overall description, Stage 2 (Release 8)

                                                              2
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                          Exhibit A – U.S. Patent No. 8,259,688


Claim 1                                                   Accused Products




                   Source: TS 36.300, p. 46




                                              3
               Case 2:25-cv-00066-JRG        Document 1-2          Filed 01/22/25   Page 5 of 50 PageID #: 37

                                            Exhibit A – U.S. Patent No. 8,259,688


              Claim 1                                                      Accused Products




                                     Source: TS 36.331, 2 p. 145




2
 3GPP TS 36.331 V8.21.0 (2014-06), Evolved Universal Terrestrial Radio Access (E-UTRA); Radio Resource Control (RRC);
Protocol specification; (Release 8)

                                                              4
 Case 2:25-cv-00066-JRG    Document 1-2        Filed 01/22/25     Page 6 of 50 PageID #: 38

                          Exhibit A – U.S. Patent No. 8,259,688


Claim 1                                                Accused Products




                   Source: TS 36.331, p. 128




                   Source: TS 36.331, pp. 126-127


                                           5
                Case 2:25-cv-00066-JRG         Document 1-2          Filed 01/22/25   Page 7 of 50 PageID #: 39

                                              Exhibit A – U.S. Patent No. 8,259,688


              Claim 1                                                        Accused Products


[A][2] [receiving, by the mobile       As evidenced below, an Accused Product operating on an LTE network receives, from a
station from a serving base station]   serving base station, an indication of an allocated random access identifier code for non-
                                       contention based transmission on the random access channel of the target base station and
                 …                     not available for random selection by the mobile station for contention based transmission on
                                       the random access channel of the target base station.
an indication of an allocated random
access identifier code for non-
contention based transmission on the
random access channel of the target
base station and not available for
random selection by the mobile
station for contention based
transmission on the random access
channel of the target base station,




                                       Source: 36.300, p. 54




                                                                 6
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                          Exhibit A – U.S. Patent No. 8,259,688


Claim 1                                                Accused Products




                   Source: 36.300, p. 54




                                           7
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                          Exhibit A – U.S. Patent No. 8,259,688


Claim 1                                                Accused Products




                   Source: 36.300, p. 45




                                           8
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                         Exhibit A – U.S. Patent No. 8,259,688


Claim 1                                              Accused Products




                  Source: TS 36.300, p. 46




                                             9
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                         Exhibit A – U.S. Patent No. 8,259,688


Claim 1                                               Accused Products




                  Source: TS 36.331, p. 145




                                          10
              Case 2:25-cv-00066-JRG       Document 1-2          Filed 01/22/25    Page 12 of 50 PageID #: 44

                                           Exhibit A – U.S. Patent No. 8,259,688


             Claim 1                                                     Accused Products




                                    Source: TS 36.331, p. 127




                                    Source: TS 36.321, 3 p. 12




3
 3GPP TS 36.321 V8.12.0 (2012-03), Evolved Universal Terrestrial Radio Access (E-UTRA) Medium Access Control (MAC)
protocol specification, (Release 8)

                                                             11
              Case 2:25-cv-00066-JRG      Document 1-2         Filed 01/22/25     Page 13 of 50 PageID #: 45

                                          Exhibit A – U.S. Patent No. 8,259,688


             Claim 1                                                   Accused Products




                                   Source: TS 36.321, p. 13




                                   Source: TS 36.331, pp. 39-40


[A][3] the random access channel   As evidenced below, the random access channel is usable by mobile stations for transmission
usable by mobile stations for      without a prior allocation of resources of the random access channel.
transmission without a prior


                                                              12
                   Case 2:25-cv-00066-JRG   Document 1-2       Filed 01/22/25       Page 14 of 50 PageID #: 46

                                            Exhibit A – U.S. Patent No. 8,259,688


                   Claim 1                                               Accused Products
    allocation of resources of the
    random access channel,




                                     Source: Introduction to LTE, 4 p. 108




4
 Christopher Cox, An Introduction to LTE (LTE, LTE-advanced, SAE, VoLTE and 4G mobile communications)(John Wiley & Sons,
Ltd. 2d. Ed. 2014)

                                                              13
Case 2:25-cv-00066-JRG   Document 1-2      Filed 01/22/25        Page 15 of 50 PageID #: 47

                         Exhibit A – U.S. Patent No. 8,259,688


Claim 1                                              Accused Products




                                          14
                   Case 2:25-cv-00066-JRG          Document 1-2         Filed 01/22/25     Page 16 of 50 PageID #: 48

                                                   Exhibit A – U.S. Patent No. 8,259,688


                  Claim 1                                                         Accused Products
                                                               5
                                            Source: TS 36.211, pp. 33-44


    [A][4] the allocated random access      As evidenced below, the allocated random access identifier code uniquely identifies the
    identifier code uniquely identifying    mobile station in a coverage area of the target base station.
    the mobile station in a coverage area
    of the target base station;




                                            Source: Introduction to LTE, p. 153




                                            Source: TS 36.321, p. 13

5
 3GPP TS 36.211 V8.9.0 (2009-12), Evolved Universal Terrestrial Radio Access (E-UTRA); Physical Channels and Modulation;
(Release 8)

                                                                       15
                Case 2:25-cv-00066-JRG            Document 1-2        Filed 01/22/25     Page 17 of 50 PageID #: 49

                                                 Exhibit A – U.S. Patent No. 8,259,688


               Claim 1                                                         Accused Products




                                          Source: TS 36.300, p. 54


[B] transmitting, by the mobile           As evidenced below, an Accused Product operating on an LTE network transmits, to the
station to the target base station, the   target base station, the allocated random access identifier code over the random access
allocated random access identifier        channel of the target base station, wherein the transmitted random access identifier code is
code over the random access               usable by the target base station to generate a feedback message comprising a timing
channel of the target base station,       adjustment to synchronize the mobile station with the target base station.
wherein the transmitted random
access identifier code is usable by
the target base station to generate a
feedback message comprising a
timing adjustment to synchronize
the mobile station with the target
base station;
                                          Source: TS 36.321, p. 13


                                                                     16
Case 2:25-cv-00066-JRG   Document 1-2         Filed 01/22/25     Page 18 of 50 PageID #: 50

                         Exhibit A – U.S. Patent No. 8,259,688


Claim 1                                               Accused Products




                  Source: TS 36.321, p. 14




                  Source: TS 36.300, p. 54




                                             17
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                         Exhibit A – U.S. Patent No. 8,259,688


Claim 1                                               Accused Products




                  Source: TS 36.300, p. 54




                                             18
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                         Exhibit A – U.S. Patent No. 8,259,688


Claim 1                                               Accused Products




                  Source: TS 36.300, p. 44




                                             19
Case 2:25-cv-00066-JRG   Document 1-2         Filed 01/22/25     Page 21 of 50 PageID #: 53

                         Exhibit A – U.S. Patent No. 8,259,688


Claim 1                                               Accused Products




                  Source: TS 36.300, p. 45




                  Source: TS 36.300, p. 46




                                             20
               Case 2:25-cv-00066-JRG         Document 1-2         Filed 01/22/25     Page 22 of 50 PageID #: 54

                                              Exhibit A – U.S. Patent No. 8,259,688


               Claim 1                                                      Accused Products
[C] receiving, by the mobile station   As evidenced below, an Accused Product operating on an LTE network receives, from the
from the target base station, the      target base station, the feedback message.
feedback message; and




                                       Source: TS 36.300, p. 54




                                                                  21
Case 2:25-cv-00066-JRG   Document 1-2         Filed 01/22/25     Page 23 of 50 PageID #: 55

                         Exhibit A – U.S. Patent No. 8,259,688


Claim 1                                               Accused Products




                  Source: TS 36.300, p. 54




                                             22
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                         Exhibit A – U.S. Patent No. 8,259,688


Claim 1                                              Accused Products




                  Source: TS 36.321, pp. 35-36




                                          23
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                         Exhibit A – U.S. Patent No. 8,259,688


Claim 1                                              Accused Products




                  Source: TS 36.321, pp. 37-38




                                          24
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                         Exhibit A – U.S. Patent No. 8,259,688


Claim 1                                               Accused Products




                  Source: TS 36.321, p. 38




                                             25
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                                                Exhibit A – U.S. Patent No. 8,259,688


              Claim 1                                                        Accused Products
                                         Source: TS 36.321, p. 14


[D] synchronizing the mobile station     As evidenced below, an Accused Product operating on an LTE network synchronizes with
with the target base station using the   the target base station using the feedback message.
feedback message.




                                         Source: TS 36.300, p. 54




                                                                    26
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                         Exhibit A – U.S. Patent No. 8,259,688


Claim 1                                               Accused Products




                  Source: TS 36.321, p. 14




                  Source: TS 36.321, p. 17


                                             27
                  Case 2:25-cv-00066-JRG        Document 1-2          Filed 01/22/25    Page 29 of 50 PageID #: 61

                                                Exhibit A – U.S. Patent No. 8,259,688


                 Claim 1                                                      Accused Products




                                         Source: TS 36.213, 6 p. 8




                   Claim 2                                                   Accused Products
    The method of claim 1, wherein the   As evidenced below, the allocated random access identifier code is released after
    allocated random access identifier   synchronization.
    code is released after
    synchronization.




6
    3GPP TS 36.213 V8.8.0 (2009-09) Evolved Universal Terrestrial Radio Access (E-UTRA); Physical layer procedures, (Release 8)

                                                                     28
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                                             Exhibit A – U.S. Patent No. 8,259,688


              Claim 2                                                      Accused Products




                                      Source: TS 36.300, p. 44




                                      Source: TS36.321, p. 16




               Claim 3                                                    Accused Products
The method of claim 1, wherein the    As evidenced below, an Accused Product operating on an LTE network adjusts at least one
random access channel of the target   operating parameter of a transmission from the mobile subscriber station to the base station.
base station is limited to time and


                                                                 29
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                                               Exhibit A – U.S. Patent No. 8,259,688


              Claim 3                                                      Accused Products
frequency resources within an uplink
communication channel.




                                        Source: TS 36.211, pp. 33-34




            Claim 6                                                        Accused Products
[PRE] A mobile station comprising:      An Accused Product is a “mobile station.”


[A][1] a receiver configured to         The Accused Products include hardware/software configured to receive signals when
receive, from a serving base station,   communicating using LTE (i.e., a receiver). As evidenced above, the hardware/software
an indication of a first subset of      configured to receive signals when communicating using LTE is operable to receive, from a
random access identifier codes          serving base station, an indication of a first subset of random access identifier codes
randomly selectable by the mobile       randomly selectable by the mobile station for contention based transmission on a random
station for contention based            access channel of a target base station. See Claim 1, [A][1].


                                                                30
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                                               Exhibit A – U.S. Patent No. 8,259,688


               Claim 6                                                      Accused Products
transmission on a random access
channel of a target base station, and
[A][2] [a receiver configured to       As evidenced above, the hardware/software configured to receive signals when
receive, from a serving base station,] communicating using LTE is operable to receive, from a serving base station, an indication
                                       of an allocated random access identifier code for non-contention based transmission on the
                  …                    random access channel of the target base station and not available for random selection by
                                       the mobile station for contention based transmission on the random access channel of the
an indication of an allocated random target base station. See Claim 1, [A][2].
access identifier code for non-
contention based transmission on the
random access channel of the target
base station and not available for
random selection by the mobile
station for contention based
transmission on the random access
channel of the target base station,

[A][3] the random access channel        As evidenced above, the random access channel is usable by mobile stations for transmission
usable by mobile stations for           without a prior allocation of resources of the random access channel. See Claim 1, [A][3].
transmission without a prior
allocation of resources of the
random access channel,
[A][4] the allocated random access      As evidenced above, the allocated random access identifier code uniquely identifies the
identifier code uniquely identifying    mobile station in a coverage area of the target base station. See Claim 1, [A][4].
the mobile station in a coverage area
of the target base station;
[B] a transmitter configured to         The Accused Products include hardware/software configured to transmit signals when
transmit, to the target base station,   communicating using LTE (i.e., a transmitter). As evidenced above, the hardware/software
the allocated random access             configured to transmit signals when communicating using LTE is configured to transmit, to
identifier code over the random         the target base station, the allocated random access identifier code over the random access
access channel of the target base       channel of the target base station, wherein the transmitted random access identifier code is
station, wherein the transmitted


                                                                 31
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                                               Exhibit A – U.S. Patent No. 8,259,688


                Claim 6                                                       Accused Products
random access identifier code is       usable by the target base station to generate a feedback message comprising a timing
usable by the target base station to   adjustment to synchronize the mobile station with the target base station. See Claim 1, [B].
generate a feedback message
comprising a timing adjustment to
synchronize the mobile station with
the target base station;
[C] the receiver further configured    As evidenced above, the hardware/software configured to receive signals when
to receive, from the target base       communicating using LTE is further configured to receive from the target base station, the
station, the feedback message; and     feedback message. See Claim 1, [C].


[D] a processor configured to          The Accused Products include one or more processors (e.g., processor(s) in a telematics unit,
synchronize the mobile station with    processor(s) in a data communications module) configured to implement and/or support LTE
the target base station using the      communications. As evidenced above, the one or more processors are configured to
feedback message.                      synchronize the mobile station with the target base station using the feedback message. See
                                       Claim 1, [D].




               Claim 7                                                     Accused Products
The mobile station of claim 6,         As evidenced above, the allocated random access identifier code is released after
wherein the allocated random access    synchronization. See Claim 2.
identifier code is released after
synchronization.


               Claim 8                                                       Accused Products
The mobile station of claim 6,           As evidenced above, the random access channel of the target base station is limited to time
wherein the random access channel        and frequency resources within an uplink communication channel. See Claim 3.
of the target base station is limited to
time and frequency resources within
an uplink communication channel.


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                                               Exhibit A – U.S. Patent No. 8,259,688



               Claim 17                                                        Accused Products
The method of claim 1, whereby the      As evidenced below, the allocated random access identifier code avoids a collision
allocated random access identifier      probability associated with other random access identifier codes randomly selected and
code avoids a collision probability     transmitted by other mobile stations for contention based transmission on the random access
associated with other random access     channel of the target base station, and the allocated random access identifier code avoids a
identifier codes randomly selected      collision probability associated with other allocated random access identifier codes not
and transmitted by other mobile         randomly selectable by a mobile station and transmitted by other mobile stations for non-
stations for contention based           contention based transmission on the random access channel of the target base station.
transmission on the random access
channel of the target base station,
and whereby the allocated random
access identifier code avoids a
collision probability associated with
other allocated random access
identifier codes not randomly
selectable by a mobile station and
transmitted by other mobile stations
for non-contention based
transmission on the random access
channel of the target base station.




                                        Source: TS 36.300, p. 54




            Claim 18                                                         Accused Products
The method of claim 1, further          As evidenced below, an Accused Product operating on an LTE network transmits, to the
comprising:                             target base station using the random access channel of the target base station, a random


                                                                   33
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                                               Exhibit A – U.S. Patent No. 8,259,688


             Claim 18                                                        Accused Products
                                        access identifier code randomly selected by the mobile station from the first subset of
transmitting, from the mobile station   random access identifier codes.
to the target base station using the
random access channel of the target
base station, a random access
identifier code randomly selected by
the mobile station from the first
subset of random access identifier
codes.




                                        Source: TS 36.300, p. 52




                                                                   34
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                          Exhibit A – U.S. Patent No. 8,259,688


Claim 18                                              Accused Products




                   Source: TS 36.321, pp. 13-14




                                           35
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                                               Exhibit A – U.S. Patent No. 8,259,688


               Claim 19                                                      Accused Products
The method of claim 1, wherein the      As evidenced below, the first subset of random access identifier codes is a range of random
first subset of random access           access identifier codes.
identifier codes is a range of random
access identifier codes.




                                        Source: TS 36.331, pp. 126-27




               Claim 20                                                        Accused Products
The method of claim 1, wherein the      As evidenced below, the first subset of random access identifier codes selectable by the
first subset of random access           mobile station for contention based transmission on the random access channel of the target
identifier codes selectable by the      base station includes a plurality of groups of random access identifier codes.
mobile station for contention based
transmission on the random access
channel of the target base station



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                                             Exhibit A – U.S. Patent No. 8,259,688


              Claim 20                                                    Accused Products
includes a plurality of groups of
random access identifier codes.




                                      Source: TS 36.321, p. 13




               Claim 21                                                  Accused Products
The method of claim 20, wherein the As evidenced below, the plurality of groups of random access identifier codes are
plurality of groups of random access distinguished by usage types.
identifier codes are distinguished by
usage types.



                                                                 37
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                                              Exhibit A – U.S. Patent No. 8,259,688


             Claim 21                                                     Accused Products




                                      Source: TS 36.321, p. 13




              Claim 22                                                   Accused Products
The method of claim 21, wherein       As evidenced below, two of the usage types are associated with different size bandwidth
two of the usage types are associated requests.
with different size bandwidth
requests.




                                                                 38
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                                           Exhibit A – U.S. Patent No. 8,259,688


             Claim 22                                                   Accused Products




                                    Source: TS 36.321, p. 13




            Claim 26                                                       Accused Products
The method of claim 1, further      As evidenced below, an Accused Product operating on an LTE network receives, from the
comprising:                         serving base station, an indication of a second subset of random access identifier codes
                                    randomly selectable by the mobile station for contention based transmission on a random
receiving, by the mobile station    access channel of the serving base station.
from the serving base station, an
indication of a second subset of


                                                               39
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                                              Exhibit A – U.S. Patent No. 8,259,688


              Claim 26                                                     Accused Products
random access identifier codes
randomly selectable by the mobile
station for contention based
transmission on a random access
channel of the serving base station.




                                       Source: TS 36.331, p. 21




                                       Source: TS 36.331, p. 105



                                                                  40
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                          Exhibit A – U.S. Patent No. 8,259,688


Claim 26                                               Accused Products




                   Source: TS 36.331, p. 128




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                                              Exhibit A – U.S. Patent No. 8,259,688


             Claim 26                                                       Accused Products




                                       Source: TS 36.331, pp. 126-27




            Claim 27                                                        Accused Products
The method of claim 1, further         As evidenced below, an Accused Product operating on an LTE network randomly selects,
comprising:                            based on not receiving an indication of an allocated random access identifier code for non-
                                       contention based transmission from the target base station, a random access identifier code
[A] randomly selecting, based on       from the first subset of random access identifier codes.
not receiving an indication of an
allocated random access identifier
code for non-contention based
transmission from the target base
station, a random access identifier
code from the first subset of random
access identifier codes; and



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                                                 Exhibit A – U.S. Patent No. 8,259,688


              Claim 27                                                        Accused Products




                                          Source: TS 36.321, p. 13


[B] transmitting, from the mobile         As evidenced below, an Accused Product operating on an LTE network transmits, to the
station to the target base station, the   base station, the randomly selected random access identifier code using the random access
randomly selected random access           channel of the target base station.
identifier code using the random
access channel of the target base
station.



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                                              Exhibit A – U.S. Patent No. 8,259,688


             Claim 27                                                       Accused Products




                                       Source: TS 36.321, p. 14


            Claim 28                                                          Accused Products
The method of claim 1, further         As evidenced below, an Accused Product operating on an LTE network transmits, to the
comprising:                            target base station, a medium access control (MAC) identifier using resources assigned by
                                       the target base station based on the transmitting of the allocated random access identifier
transmitting from the mobile station   code.
to the target base station, a medium
access control (MAC) identifier
using resources assigned by the
target base station based on the
transmitting of the allocated random
access identifier code.


                                       Source: TS 36.300, p. 46




             Claim 29                                                       Accused Products
The mobile station of claim 6,         As evidenced above, the allocated random access identifier code avoids a collision
whereby the allocated random           probability associated with other random access identifier codes randomly selected and


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                                               Exhibit A – U.S. Patent No. 8,259,688


               Claim 29                                                        Accused Products
access identifier code avoids a         transmitted by other mobile stations for contention based transmission on the random access
collision probability associated with   channel of the target base station, and the allocated random access identifier code avoids a
other random access identifier codes    collision probability associated with other allocated random access identifier codes not
randomly selected and transmitted       randomly selectable by a mobile station and transmitted by other mobile stations for non-
by other mobile stations for            contention based transmission on the random access channel of the target base station. See
contention based transmission on the    Claim 17.
random access channel of the target
base station, and whereby the
allocated random access identifier
code avoids a collision probability
associated with other allocated
random access identifier codes not
randomly selectable by a mobile
station and transmitted by other
mobile stations for non-contention
based transmission on the random
access channel of the target base
station.



              Claim 30                                                       Accused Products
The mobile station of claim 6,          As evidenced above, the hardware/software configured to transmit signals when
wherein the transmitter is further      communicating using LTE is further configured to transmit, to the target base station using
configured to transmit, to the target   the random access channel of the target base station, a random access identifier code
base station using the random access    randomly selected from the first subset of random access identifier codes. See Claim 18.
channel of the target base station, a
random access identifier code
randomly selected, by the mobile
station, from the first subset of
random access identifier codes.




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              Claim 31                                                        Accused Products
The mobile station of claim 6,           As evidenced above, the first subset of random access identifier codes is a range of random
wherein the first subset of random       access identifier codes. See Claim 19.
access identifier codes is a range of
random access identifier codes.


              Claim 32                                                          Accused Products
The mobile station of claim 6,           As evidenced above, the first subset of random access identifier codes selectable by the
wherein the first subset of random       mobile station for contention based transmission on a random access channel of the target
access identifier codes selectable by    base station includes a plurality of groups of random access identifier codes. See Claim 20.
the mobile station for contention
based transmission on a random
access channel of the target base
station includes a plurality of groups
of random access identifier codes.


              Claim 33                                                        Accused Products
The mobile station of claim 32,          As evidenced above, the plurality of groups of random access identifier codes are
wherein the plurality of groups of       distinguished by usage type. See Claim 21.
random access identifier codes are
distinguished by usage type.


             Claim 34                                                       Accused Products
The mobile station of claim 33,          As evidenced above, two of the usage types are associated with different size bandwidth
wherein two of the usage types are       requests. See Claim 22.
associated with different size
bandwidth requests.




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              Claim 36                                                        Accused Products
The mobile station of claim 6,         As evidenced below, wherein a total number of random access identifier codes associated
wherein a total number of random       with the serving base station is the same as a total number of random access identifier codes
access identifier codes associated     associated with the target base station.
with the serving base station is the
same as a total number of random
access identifier codes associated
with the target base station.




                                       Source: TS 36.331, pp. 126-27




                                       Source: Introduction to LTE, p. 165


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              Claim 36                                                       Accused Products




              Claim 38                                                         Accused Products
The mobile station of claim 6,           As evidenced above, the hardware/software configured to receive signals when
wherein the receiver is further          communicating using LTE is further configured to receive, from the serving base station, an
configured to receive, from the          indication of a second subset of random access identifier codes randomly selectable by the
serving base station, an indication of   mobile station for contention based transmission on a random access channel of the serving
a second subset of random access         base station. See Claim 26.
identifier codes randomly selectable
by the mobile station for contention
based transmission on a random
access channel of the serving base
station.



             Claim 39                                                          Accused Products
The mobile station of claim 6,           As evidenced above, the one or more processors are configured to randomly select, based on
wherein                                  not receiving an indication of an allocated random access identifier code for non-contention
                                         based transmission from the target base station, a random access identifier code from the
[A] the processor is further             first subset of random access identifier codes. See Claim 27, [A].
configured to randomly select, based
on not receiving an indication of an
allocated random access identifier
code for non-contention based
transmission from the target base
station, a random access identifier
code from the first subset of random
access identifier codes,
and



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               Claim 39                                                      Accused Products
[B] the transmitter is further          As evidenced above, the hardware/software configured to transmit signals when
configured to transmit, to the target   communicating using LTE is configured to transmit, to the target base station, the randomly
base station, the randomly selected     selected random access identifier code using the random access channel of the target base
random access identifier code using     station. See Claim 27, [B].
the random access channel of the
target base station.


               Claim 40                                                     Accused Products
The mobile station of claim 6,          As evidenced above, the hardware/software configured to transmit signals when
wherein the transmitter is further      communicating using LTE is configured to transmit, to the target base station, a medium
configured to transmit, to the target   access control (MAC) identifier using resources assigned by the target base station based on
base station, a medium access           the transmitted allocated random access identifier code. See Claim 28.
control (MAC) identifier using
resources assigned by the target base
station based on the transmitted
allocated random access identifier
code.




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